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PLEASE TAKE A MOMENT TO REVIEW THIS LOAN AGREEMENT CAREFULLY. YOU WILL BE
REQUIRED TO ELECTRONICALLY SIGN AND DATE IT. YOU WILL ALSO ELECTRONICALLY
SIGN AND DATE THE DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATIONS.




                                           Loan #       9236
Agreement Date: 05/11/2019                           Loan #:    9236
Effective Date: 05/13/2019                           Loan Type: Installment Loan
Niswi, LLC d/b/a                                     Name: Kevin Williams
Amplify Funding                                      Address: 10014 White Bluff Rd Apt 301
P.O.Box 542                                          City: Savannah
Lac du Flambeau                                      State: GA Zip:31406
WI 54538                                             Phone: 9125088082
                                                     Email Address: kewillia@bellsouth.net




In this Agreement (“Agreement”) the words “we,” “us” and “our” mean Niswi, LLC d/b/a Amplify
Funding, an economic development arm of, instrumentality of, and a limited liability company wholly-
owned and controlled by, the Lac du Flambeau Band of Lake Superior Chippewa Indians (“Tribe”),
and any authorized representative, agent, independent contractor, affiliate or assignee we use in the
provision of your loan. “You” and “your” means the consumer who signs the Agreement
electronically. The term “business day” means any calendar day other than a Saturday, Sunday or a
bank or federal holiday, between the hours of 8AM and 4PM CST.




This Agreement is governed by the laws of the Tribe.




In order to complete your transaction with us, you must electronically sign and date this Agreement.
We cannot commit to make a loan to you unless your completed application is approved by our
underwriting department, located on the Tribe’s Reservation. Once you sign and submit this
Agreement, we will either approve or deny your request for credit from our office located on tribal
land. If your information cannot be verified by the Effective Date, your request for credit will not be
approved, we will not fund the loan, and you will not incur any finance charge or fees.




                                TRUTH IN LENDING DISCLOSURES



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 ANNUAL                    FINANCE CHARGE          Amount Financed         Total of Payments
 PERCENTAGE RATE
                           The dollar amount the   The amount of credit    The amount you will
 The cost of your credit   credit will cost you.   provided to you or on   have paid after you
 as a yearly rate.                                 your behalf.            have made all
                                                                           payments as
                                                                           scheduled.
 313.86%                   $1075.20                $1200.00                $2275.20

Your Payment Schedule will be:

Number of Payment                 Payment Amount                   Payment Date
1                                 $189.60                          05/24/2019
2                                 $189.60                          06/07/2019
3                                 $189.60                          06/21/2019
4                                 $189.60                          07/05/2019
5                                 $189.60                          07/19/2019
6                                 $189.60                          08/02/2019
7                                 $189.60                          08/16/2019
8                                 $189.60                          08/30/2019
9                                 $189.60                          09/13/2019
10                                $189.60                          09/27/2019
11                                $189.60                          10/11/2019
12                                $189.60                          10/25/2019




Security: If you decide to authorize automatic payments from your bank account, you are giving a
security interest in your Payment Choice Authorization. If you do not authorize automatic payments
from your bank account, you are not giving us a security interest.

Late Charge: If a payment is 3 days or more late, you will be charged $30 per late scheduled
payment.

Prepayment: If you pay off early, you will not have to pay a penalty.

See the terms of the Agreement below for any additional information about nonpayment, default,
any repayment in full before the schedule date, and prepayment refunds and penalties.




ITEMIZATION OF AMOUNT FINANCED: Amount Financed/Amount given to You directly $1200.00




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                              SPECIAL190
                                      NOTICES:




•YOUR LOAN IS AN EXPENSIVE FORM OF BORROWING.
•YOU CAN SAVE FINANCE CHARGES BY PAYING OFF YOUR LOAN EARLY EITHER IN PART
OR IN FULL.
•YOUR LOAN IS DESIGNED TO ASSIST YOU IN MEETING YOUR SHORT-TERM CASH NEEDS.
IT IS NOT A SOLUTION FOR LONGER TERM FINANCIAL PROBLEMS.
•NON-PROFIT CREDIT COUNSELING SERVICES MAY BE AVAILABLE IN YOUR COMMUNITY
FOR CONSUMERS EXPERIENCING FINANCIAL PROBLEMS.




                              PAYMENT DISBURSEMENT OPTIONS




DISBURSEMENT: If your loan is approved, we will process disbursement of your loan proceeds
within one (1) business day of the day your loan is approved. You authorize us to use commercially
reasonable efforts to initiate a credit entry by depositing the proceeds of your loan into your Bank
Account as described in your Disbursement Authorization. The date that your loan proceeds are
deposited to your Bank Account is the “Disbursement Date.” Unavoidable delays that occur as a
result of bank holidays, the processing schedule of your individual bank, inadvertent processing
errors, “acts of God,” and/or “acts of terror” may extend the time for the deposit and may cause a
change in the Disbursement Date and your Annual Percentage Rate (“APR”) as disclosed herein. In
the event that disbursement is delayed, the Disbursement Date will automatically adjust to the actual
date of disbursement.




AUTHORIZATION FOR ACH CREDIT: You agree that we may initiate a credit entry to your Bank
Account for an amount consistent with this Agreement on or before the Effective Date. If you revoke
this authorization before we credit the loan proceeds to you, then we will not be able to deposit the
loan proceeds into your Bank Account. To find out whether or not a deposit has been made, you may
contact customer service at (844)379-0900.




EXPEDITED FUNDING SERVICE: If you want to receive your loan proceeds at least one (1)
business day sooner than through an ACH credit, we offer you an Expedited Funding Service. If you
choose this Expedited Funding Service, your loan proceeds are deposited into your Bank Account on
the same business day as your loan is approved (if before 12:00 p.m. Central) time or the next
business day if after that time.


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For example, if your loan was approved at 12:30 p.m. on Friday, your loan proceeds would likely be
deposited into your Bank Account on Monday. But, if you wanted to use the Expedited Funding
Service, then your loan proceeds would be disbursed to you on Friday.




Note that the timing of when your bank actually makes these funds available to you is entirely
controlled by your bank and not us. If you want to use Expedited Funding Service, type in your
name in the Expedited Funding Service authorization in the Disbursement Authorization box
below.




                                 PAYMENT METHOD OPTIONS




PAYMENTS: You are required to make the payments for each period outlined in the payment
schedule above (“Installment Period”) on or before the payment due dates in the payment schedule
(“Payment Due Dates”). If you would like to repay your loan according to a payment plan other than
as set forth herein, you must contact a customer service representative no later than three (3) days
prior to your next scheduled Payment Due Date to make those payment schedule modifications if you
would like them in effect for the next Payment Due Date. You will make your payments on or before
every Payment Due Date until you have paid the entire principal and accrued finance charge(s) and
any other charges as described in this Agreement. If on the final scheduled Payment Due Date
(“Maturity Date”), you still owe amounts under this Agreement, you will pay those amounts in full on
that date. You may elect to make your payments electronically: by ACH debit, by debit card, or by
Remotely Created Check. You may also elect to make your payments by cashier’s check or money
order and mail your payments to us.




ELECTRONIC PAYMENT: If you elect to make your payments electronically, then your payment plus
any Non-Sufficient Funds (“NSF”), Late or Refused Instrument Charge fees due to us, if applicable,
will be debited electronically from your Bank Account on each Payment Due Date as set forth in your
payment schedule (see “PAYMENT CHOICE AUTHORIZATION” below) through one of the
electronic methods described below. You may revoke your payments by contacting customer
service at (844)379-0900 or emailing us at customerservice@amplifyfunding.com. Please note: if
your scheduled payment has already been submitted to your financial institution at the time of
revocation, it may be necessary for us to wait until that payment posts before we can refund you that
payment amount. However, when possible, at the time of revocation, we will void any pending
payment(s). For the purposes of these disclosures, our business days are Monday through Friday.
8:00 AM to 4:00 PM CST. Saturdays, Sundays, and Holidays are not included.



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PAYMENTS BY ACH DEBIT: If you elect to pay by ACH debit, then you authorize us, our
successors and assigns to initiate automatic debits for payments from your Bank Account. You agree
that we will initiate debit entries on each scheduled payment date or thereafter for the scheduled
amount, or any lesser amount you owe. You authorize us to initiate separate ACH debit entries to
your Bank Account identified in the Payment Choice Authorization for any returned payment and
NSF, Late or Refused Instrument Charge fees in the amounts set forth in this Agreement. You agree
that we may reinitiate any ACH up to two (2) additional times for the same amount if an ACH is
dishonored. You do not have to authorize payments by ACH debit in order to receive a loan
from us. If you do not want to make payments by ACH debit, please review the other available
payment options below.




You may revoke this authorization by contacting customer service at (844)379-0900 or emailing us
at customerservice@amplifyfunding.com not less than three (3) business days prior to your
scheduled payment. Please note: if your scheduled payment has already been submitted to your
financial institution at the time of revocation, it may be necessary for us to wait until that payment
posts before we can refund you that payment amount. However, when possible, at the time of
revocation, we will void any pending payment(s).




You have the right to receive notice of all transfers that vary in amount. You acknowledge that we
elected to offer you a specified range of amounts for the recurring ACH processing rather than
providing you with a notice of transfer for each varying amount. The ACH debit may range from the
amount provided in this Agreement, which may be a scheduled payment amount or less if partial
prepayments have been made, to the scheduled payment amount plus applicable NSF, Late or
Refused Instrument Charge fees. We will send you a notice if a charge exceeds this range.




You authorize us to verify any information that you provide to us, including past and current
information from whatever source. You agree that the ACH entries authorized here are voluntary, and
that certain entries will recur as defined in this Agreement at substantially regular intervals. If there is
any missing or erroneous information in or with your loan application regarding your Bank Account,
then you authorize us to verify and correct the information. If any payment cannot be obtained by
ACH, you remain responsible for such payment and any resulting fees under this Agreement.




Your Bank Account associated with this authorization is listed in the Payment Choice Authorization.




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PAYMENT BY DEBIT CARD: If you elect to pay 193
                                           by debit card, you agree that we may initiate debit
entries to your debit card on each scheduled payment date or thereafter for the scheduled amount, or
any lesser amount you owe, in three (3) instances: 1) if we cannot process your authorized ACH
debits for any reason other than your revocation of ACH authorization, 2) if you specifically authorize
that we debit your debit card identified in this Agreement, or 3) if you default on a payment.




You authorize us to initiate a separate debit to your debit card for any applicable NSF, Late or
Refused Instrument Charge fees set forth in this Agreement. If the debit entries are dishonored, you
authorize us to initiate separate debit entries to your debit card for the dishonored amount and any
late fees or NSF fees.




You may revoke this authorization by contacting customer service at (844)379-0900 or emailing us
at customerservice@amplifyfunding.com not less than three (3) business days prior to your
scheduled payment. Please note: if your scheduled payment has already been submitted to your
financial institution at the time of revocation, it may be necessary for us to wait until that payment
posts before we can refund you that payment amount. However, when possible, at the time of
revocation, we will void any pending payment(s).




You have the right to receive notice of all transfers that vary in amount. You acknowledge that we
elected to offer you a specified range of amounts for the recurring debit card processing rather than
providing you with a notice of transfer for each varying amount. The debit may range from the amount
provided in this Agreement, which may be a scheduled payment amount or less if partial
prepayments have been made, to the scheduled payment amount plus applicable NSF, Late or
Refused Instrument Charge fees. We will send you a notice if a charge exceeds this range.




PAYMENT BY REMOTELY CREATED CHECK: If you elect to pay by remotely created check, you
agree that we may create checks bearing your typed name and other information as may be required
under applicable law, rather than your handwritten signature, drawn on your Bank Account, and to
submit each check for payment to the bank or other financial institution in the amount of each
payment owing to us under this Agreement on or after each scheduled payment date (“Remotely
Created Check”), otherwise known as a demand draft, telecheck, preauthorized draft or paper draft
in four (4) instances: 1) if you have specifically elected to make your payments by Remotely Created
Check, 2) if you elected to make payments by debit card or ACH and you subsequently revoke either
authorization, 3) if we are unable to process your payments by debit card or ACH for any other
reason, or 4) if you have defaulted on a payment.




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If a Remotely Created Check is returned unpaid by the Bank or other financial institution, then you
authorize us to create and submit a Remotely Created Check for any NSF, Late or Refused
Instrument Charge fees or other amounts accrued pursuant to this Agreement. You agree that your
typed name will constitute your authorized signature fully reflecting your intent to authenticate any
such Remotely Created Check. You authorize us to vary the amount of any preauthorized payment
by Remotely Created Check as needed to repay amounts owing, as modified by any partial
prepayment.




If you would like to dispute a payment related to a Remotely Created Check, determine whether a
payment was genuine, withhold payment of a Remotely Created Check, or obtain recrediting of
amounts we obtain via Remotely Created Check, contact us at (844)379-0900 or email us
at customerservice@amplifyfunding.com.




PAYMENT BY CASHIER’S CHECK OR MONEY ORDER: If you elect to pay by cashier’s check or
money order, then you agree to repay all amounts due pursuant to this Agreement by mailing your
cashier’s checks or money orders to us at P.O. Box 542, Lac Du Flambeau, WI 54538. All mailed
payments must reach us by 4:00 pm Central Time on or before (1) business days prior to the
Payment Due Date to ensure timely processing of your payment.




                                      OTHER INFORMATION




PREPAYMENT: You may prepay all or part of the amount you owe us at any time before the Maturity
Date without penalty. If you prepay in full, you must pay the finance charge(s) accrued on your loan
and all other amounts due up to the date of the prepayment. If you wish to prepay your loan, then you
must contact a customer service representative at (844)379-0900 to obtain an accurate payoff
amount and either provide us with authorization to effect a debit entry to your Bank Account for the
prepayment, or otherwise advise us of your intended method of prepayment. If you prepay all or part
of the principal amount due on your loan, your finance charges on the amount prepaid will be
calculated as of the date of your prepayment.




LATE CHARGE: You agree to pay a late charge of $30 if a payment is 3 days or more late. If you
authorized debits from your Bank Account or debit card in your Payment Choice Authorization, you
agree that we may debit your Bank Account or debit card, as applicable, for any late charges.




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REFUSED INSTRUMENT CHARGE: If your payment method is stopped, denied or otherwise
dishonored, then you agree to pay us a fee of $30. If you authorized debits from either your Bank
Account or debit card in your Payment Choice Authorization, you agree that we may debit your Bank
Account or debit card, as applicable, for any Refused Instrument Charge. Your refused instrument
may also cause your payment to be late which could result in your having to also pay a late charge.




YOUR PROMISE TO PAY: You promise to pay us, or any subsequent holder of this Agreement, the
Amount Financed and finance charges according to the payment schedule in the Truth in Lending
Disclosures plus all other amounts owed to us under this Agreement. You agree that your finance
charges will be calculated at the Annual Percentage Rate in the Truth in Lending Disclosures. All
payments will be applied first to finance charges and fees and then to principal. If you prepay all or
part of the principal amount due on your loan, your finance charges on the amount prepaid will be
calculated as of the date of your prepayment.




WHEN YOU BEGIN PAYING FINANCE CHARGE(S): You begin to accrue finance charge(s) for the
loan on the Disbursement Date. The first Installment Period on the loan begins on the Disbursement
Date and ends on the first Payment Due Date. Thereafter, each Installment Period begins on the first
date following the Payment Due Date and ends on the next Payment Due Date. You will be charged
finance charge(s) on the entire Installment Period beginning on the first day of the Installment Period.
In calculating your payments, we have assumed you will make each payment on the day and in the
amount due as outlined within your payment schedule. If any payment is made before the Payment
Due Date, the finance charge(s) will be calculated as of the date of your prepayment, and any over
payment will be applied to the amounts owed under this Agreement. Time is of the essence, which
means that there are no grace periods for when payments must be made.




ASSIGNMENT: This Agreement may not be assigned by you. We may assign or transfer this
Agreement and our related rights and obligations without notice to you and your consent is not
required if we make such an assignment or transfer.




VERIFICATION: You authorize us to verify the information you provided to us in connection with your
loan application. You give us consent to obtain information about you from consumer reporting
agencies or other sources at any time. We reserve the right to withhold funding of this loan, at any
time prior to disbursement, to allow us to verify the information you have provided to us.




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CREDIT REPORTING: We may report information about your loan to credit bureaus. Late payments,
missed payments, or other defaults on your loan may be reflected on your credit report.




CANCELLATION: You may cancel your payment obligations under this Agreement, without cost or
finance charges, no later than 3:00 p.m. CST of the second business day immediately following the
Disbursement Date (“Cancellation Deadline”). Your right to cancel your loan only applies if your loan
either hasn’t funded or, if it has, the funds are returned to us as explained below. To cancel your
payment obligations on this loan, you must inform us in writing, by or before the Cancellation
Deadline, either by email to customerservice@amplifyfunding.com, that you want to cancel the future
payment obligations on this loan. If we timely receive your written notice of cancellation on or before
the Cancellation Deadline but before the loan proceeds have been deposited into your Bank Account,
then we will not debit your Bank Account and both your and our obligations under this Agreement will
be rescinded. However, if we timely receive your written notice of cancellation on or before the
Cancellation Deadline but after the loan proceeds have been deposited into your Bank Account, then
you authorize us to effect a debit to your Bank Account or your debit card as you chose in your
Payment Choice Authorization for the principal amount of this Agreement. If we receive payment of
the principal amount via the debit, then both your and our obligations under this Agreement will be
rescinded. If we do not receive payment of the principal amount by debit to your Bank Account or
your debit card, then this Agreement will remain in full force and effect.




DEFAULT: You will be in default under this Agreement if you do not pay us a scheduled payment or
any other amounts you owe us when due or your chosen payment method is stopped, denied or
otherwise dishonored. If you default on your loan, we can choose to declare all principal, finance
charges and other amounts that you owe us to be immediately due and payable in full. If you are in
default and you authorized debits from your Bank Account, you agree that we can debit your Bank
Account or debit card, as applicable, for the full amount that you owe us. Additionally, if you do not
cooperate with us on repaying your debt to us we may submit your name to a collection agency and
we may also report the incident to a consumer reporting agency database. This may negatively
impact your ability to write checks or to receive loans or advances from other companies.




CONSEQUENCES OF DEFAULT: Upon a default by you under this Agreement, we may, at our sole
option, take any one or more of the following actions:

a) Agree to permit you to cure a payment default before the loan goes into collection by modifying
your Payment Schedule and/or payment amounts (a “Cure Arrangement”). This option is not
available for all customers and/or all loan products. If we agree to a Cure Arrangement and you fail to
honor its terms, then we will have the right, at our sole discretion, to terminate the Cure Arrangement
and immediately and without notice declare the entire unpaid principal balance and all accrued
unpaid finance charge(s) and fees immediately due under your loan (“Accelerate Your Loan”);
b) Automatically and without further action or notice Accelerate Your Loan and require you to
immediately pay us all amounts due and owing pursuant to such acceleration;


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                                                  197 we may automatically and without further
c) If you have elected to repay your loan electronically,
action or notice withdraw from your designated account(s) an amount equal to the amount owed and
unpaid as of your last scheduled payment date up to an amount equal to the amount owed if we have
Accelerated Your Loan; and
d) Pursue all legally available means to collect what you owe us.

By electing any one of these options, we do not waive or release our right to subsequently elect and
apply any other options to collect the amounts due and owing to us.




GOVERNING LAW: The laws of the Tribe and applicable federal law will govern this Agreement,
without regard to the laws of any state or other jurisdiction, including the conflict of laws rules of any
state. You agree to be bound by Tribal law, and in the event of a bona fide dispute between you and
us, Tribal law and applicable federal law shall exclusively apply to such dispute.




SOVEREIGN IMMUNITY AND PRESERVATION OF SOVEREIGN IMMUNITY: This Agreement and
all related documents are being submitted by you to us as an economic development arm,
instrumentality, and limited liability company of the Tribe. The Tribe is a federally recognized Indian
Tribe and enjoys sovereign immunity. Nothing in this Agreement constitutes a waiver of the Tribe’s
sovereign immunity and the Tribe’s immunity is fully preserved and is not waived either in whole or in
part by this Agreement and the Tribe expressly maintains all rights, titles, privileges, and immunities,
to which the Tribe is entitled. To protect and preserve the rights of the parties, no person may
assume a waiver of sovereign immunity. No waiver of the Tribe’s immunity is or can be made except
by express written declaration of the Tribe’s Tribal Council specifically authorizing a waiver for the
matter in question. No such waiver has been made with respect to either your Agreement or your
Disbursement and Payment Choice Authorization. As set forth below, the Tribe expressly preserves
its sovereign immunity and you may not assert any claims against the Tribe. As an economic
development arm and instrumentality of the Tribe, we are entitled to sovereign immunity to the same
extent as the Tribe. To encourage resolution of consumer complaints, a complaint may be submitted
by you or on your behalf pursuant to the Dispute Resolution Procedure and Arbitration Provision
below and the complaint is limited by the Dispute Resolution Procedure and Arbitration Provision.




QUESTIONS OR CONCERNS: If you have questions or concerns and need assistance, please
telephone us at (844)379-0900 or at 1-844-388-0500.




                   DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION




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DISBURSEMENT AND PAYMENT CHOICE            Loan#:              9236
AUTHORIZATION for Niswi, LLC d/b/a Amplify
Funding
REVIEW VERY CAREFULLY BEFORE EXECUTING THE LOAN AGREEMENT




Your ACH Credit Disbursement Authorization




By electronically signing this Disbursement and Payment Choice Authorization below, you voluntarily
authorize us to initiate disbursement credits and payment debits you have authorized. This
Disbursement and Payment Choice Authorization is a part of and relates to the Agreement. The
words “you” and “your” mean the borrower who has electronically signed this Disbursement and
Payment Choice Authorization. The words “we,” “us” and “our” mean Niswi, LLC d/b/a Amplify
Funding and our successors and assigns.




Disbursements to your Bank Account. Unless otherwise agreed, disbursement credits of your
loan proceeds will be made to the following bank account (your “Bank Account”).




Bank Name:                                        Bank Of America, N.a.
Transit ABA Number:                                     0052
Deposit Account Number:                                     2179




We will make these disbursement credits by Automated Clearing House (ACH) entries, unless
you have requested Expedited Funding Service via wire transfer.




BY TYPING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE
ELECTRONICALLY SIGNING THIS DISBURSEMENT AUTHORIZATION AND AGREEING TO
ALL THE TERMS OF THIS AUTHORIZATION.




YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY


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COMPLETED COPY OF THIS DISBURSEMENT199AUTHORIZATION FOR YOUR RECORDS.




[I AGREE]
NAME: Kevin Williams
 Kevin Williams
I agree that Niswi, LLC d/b/a/ Amplify Funding and its successors and assigns may initiate an
ACH credit disbursement to my Bank Account.




                            PAYMENT CHOICE AUTHORIZATION




Your Payment Choice Authorization




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Automatic Payment from Your Bank Account. Payments You will Make Directly.

By electronically signing this Payment Choice         You agree to make each of your scheduled
Authorization below, you voluntarily authorize us     payments in your payment schedule by cashier’s
to initiate debits you have authorized. This          check or money order that we receive no later
Payment Choice Authorization is a part of and         than 4:00 PM Central Time on or before (4)
relates to this Agreement.                            business days prior to the Payment Due Date to:
                                                      Amplify Funding
You authorize us and our successors and               P. O. Box 542
assigns to process payment debit entries out of       Lac Du Flambeau, WI 54538
your Bank Account by the payment process you
have authorized above, such as [ACH entries,]
[Remotely Created Checks] or [transactions
through your debit card accessing your Bank
Account listed above].

You specifically authorize us to use this
PAYMENT CHOICE to process debit entries
from your Bank Account for all payments due
under this Agreement in a sum equal to your
payment amount due under the Agreement;
provided, however, that you preauthorize us to
vary the amount of any debit entry on each
Payment Due Date as needed to adjust a
payment due on the loan to reflect: (1) any
payment you make; (2) any amounts you still
owe under this Agreement on the final scheduled
Payment Due Date; and, (3) for any late,
returned item charges, nonsufficient fund fees
and other fees imposed under the Agreement.

If you are in default, you authorize us to process
one or more debit entries to pay all principal,
finance charges and other amounts due to us as
provided in the Agreement. You authorize us to
reprocess debit entries for the same amounts if
any attempted payment transaction is
dishonored.

We will provide you with ten (10) days’ notice
prior to processing a preauthorized debit entry
that varies from the scheduled amounts detailed
above, unless the variance results from your
request and your new authorization for us to
change the amount of your payments going
forward.




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                                      201 FROM YOUR BANK ACCOUNT, YOU MAY
IF YOU HAVE CHOSEN TO AUTHORIZE PAYMENT
REVOKE YOUR AUTHORIZATION TO AUTOMATIC PAYMENTS AT ANY TIME BY
CONTACTING US DIRECTLY AT (844)379-0900 OR customerservice@amplifyfunding.com. Your
revocation must be received no less than three (3) business days prior to your scheduled
payment date. Please note: if your scheduled payment has already been submitted to your
financial institution at the time of revocation, it may be necessary for us to wait until that
payment posts before we can refund you that payment amount. However, when possible, at
the time of revocation, we will void any pending payment(s). YOU UNDERSTAND THAT
REVOKING YOUR AUTHORIZATION DOES NOT RELIEVE YOU OF THE RESPONSIBILITY OF
PAYING ALL AMOUNTS DUE IN FULL THAT ARE OWED BY YOU UNDER THE LOAN
AGREEMENT.




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BY TYPING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE
ELECTRONICALLY SIGNING THIS PAYMENT CHOICE AUTHORIZATION AND AGREEING TO
ALL THE TERMS OF THIS AUTHORIZATION.

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY
COMPLETED COPY OF THIS DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION
FOR YOUR RECORDS.

[I AGREE] Kevin Williams I agree that Niswi, LLC d/b/a Amplify Funding and its successors
and assigns may initiate electronic fund transfer payments from my Bank Account, via the
PAYMENT CHOICE. PLEASE NOTE, YOU ARE NOT REQUIRED TO AUTHORIZE THIS
PAYMENT CHOICE AUTHORIZATION OPTION IN ORDER TO BE APPROVED FOR A LOAN
FROM US. YOU MAY CHOOSE TO PAY BY CASHIER’S CHECK OR MONEY ORDER BY
FOLLOWING THE INSTRUCTIONS IN THE “PAY BY CASHIER’S CHECK OR MONEY
ORDER” SECTION OF THIS AGREEMENT AND ON THE APPLICATION SCREEN.

ERROR RESOLUTION NOTICE: In the event (i) you have a question about an electronic
transfer or if (ii) you find an error, you must telephone us at (844)379-0900, email us
at customerservice@amplifyfunding.com, or contact us by mail at P. O. Box 542, Lac Du
Flambeau , WI 54538. We must hear from you no later than sixty (60) days after the FIRST
debit or credit that is the basis of the problem or error. (1) Tell us your name and account
number (if any); (2) Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more information; and (3)
Tell us the dollar amount of the suspected error. If you tell us orally, we may require that you
send us your complaint or question in writing within ten (10) business days. We will
determine whether an error occurred within ten (10) business days after we hear from you
and will correct any error promptly. If we need more time, however, we may take up to forty-
five (45) days to investigate your complaint or question. If we decide to do this, we will credit
your account within ten (10) business days for the amount you think is in error, so that you
will have the use of the money during the time it takes us to complete our investigation. If we
ask you to put your complaint or question in writing and we do not receive it within ten (10)
business days, we may not credit your account. For errors involving new accounts, we may
take up to ninety (90) days to investigate your complaint or question. For new accounts, we
may take up to twenty (20) business days to credit your account for the amount you think is
in error. We will tell you the results within three (3) business days after completing our
investigation. If we decide that there was no error, we will send you a written explanation.
You may ask for copies of the documents that we used in our investigation.

CONFIDENTIALITY: We will disclose information to third parties about your account or the
transfers you make: (1) where it is necessary for completing transfers; (2) in order to verify
the existence and condition of your account to a third party, such as a credit bureau or
merchant; (3) in order to comply with a government agency or court orders; or (4) as
described in our privacy notice, provided separately.




           DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION




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DISPUTE RESOLUTION PROCEDURE: As an accommodation to consumers, we have established
the following Dispute Resolution Procedure to receive, review, and consider any and all types of
complaints made by or on behalf of our consumers. A consumer who, in the course of his or her
otherwise lawful and proper use of our business, has concerns about the operation of any part of us
or who otherwise believes himself or herself to be aggrieved by some aspect of any part of our
operation shall direct his or her concerns in the first instance to our management, in writing at
customerservice@ldfcallcenter.com or by mail at P.O. Box 231, Lac du Flambeau, WI 54538. A
consumer’s complaint to us shall be considered similar in nature to a petition for redress submitted to
a sovereign government, without waiver of sovereign immunity and exclusive jurisdiction, and does
not create any binding procedural or substantive rights. We will investigate the consumer’s complaint
and provide our initial determination as soon as is reasonably practicable. If the dispute is not
resolved to your satisfaction, you and we agree that we shall arbitrate that dispute in accordance with
the terms of the Arbitration Provision, described below.




ARBITRATION PROVISION: PLEASE READ THE FOLLOWING CAREFULLY AS IT IMPACTS
YOUR LEGAL RIGHTS.




WE, AS A WHOLLY OWNED ECONOMIC DEVELOPMENT ARM, INSTRUMENTALITY, AND
LIMITED LIABILITY COMPANY OF THE TRIBE, AND OUR DIRECTORS, OFFICERS, AND
EMPLOYEES ACTING WITHIN THE SCOPE OF THEIR AUTHORITY, ARE NOT SUBJECT TO
SUIT IN ANY COURT IN ANY JURISDICTION, OR ANY OTHER FORUM, ABSENT A WAIVER OF
SOVEREIGN IMMUNITY. In order to resolve a dispute that we cannot resolve to your satisfaction as
set forth above, we consent to a limited waiver of sovereign immunity as expressly set forth below,
which is expressly limited by the Arbitration Provision in this Agreement. This limited waiver is strictly
limited to individual arbitration claims set forth below and judicial actions to enforce such individual
arbitration awards as strictly limited herein.




Definitions: The words “dispute” and “disputes” are given the broadest possible meaning and
include, without limitation (a) all claims, disputes, or controversies arising from or relating directly or
indirectly to this Dispute Resolution Procedure and Arbitration Provision (“this Provision”), the validity
and scope of this Provision and any claim or attempt to set aside this Provision? (b) all U.S. federal or
state law claims, disputes or controversies, arising from or relating directly or indirectly to this
Agreement, the information you gave us before entering into this Loan Agreement, including the
customer information application, and/or any past Agreement or Agreements between you and us?
(c) all counterclaims, cross claims and third-party claims? (d) all common law claims, based upon
contract, tort, fraud, or other intentional torts? (e) all claims based upon a violation of any state or
federal constitution, statute or regulation? (f) all claims asserted by us against you, including claims
for money damages to collect any sum we claim you owe us? (g) all claims asserted by you
individually against the Tribe, us and/or any of our employees, agents, directors, officers, governors,


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managers, members, parent company or affiliated entities (collectively, “related third parties”),
including claims for money damages and/or equitable or injunctive relief? (h) all claims asserted on
your behalf by another person? (i) all claims asserted by you as a private attorney general, as a
representative and member of a class of persons, or in any other representative capacity, against us
and/or related third parties (“Representative Claims”)? and/or (j) all claims arising from or relating
directly or indirectly to the disclosure by us or related third parties of any nonpublic personal
information about you.




Notice: Any party to a dispute, including you, us and/or related third parties, may send the other
party(s) written notice by certified mail return receipt requested of their intent to arbitrate and setting
forth the subject of the dispute along with the relief requested, even if a lawsuit has been filed.
Regardless of who demands arbitration, the arbitration shall occur before the American Arbitration
Association (1-800-778-7879; http://www.adr.org). However, the parties may mutually agree to select
a different arbitrator who is an attorney, retired judge, or arbitrator registered and in good standing
with an arbitration association and arbitrate pursuant to such arbitrator’s rules. The party receiving
notice of arbitration shall respond in writing by certified mail return receipt requested within twenty
(20) calendar days. All parties to such dispute will be governed by the rules and procedures of the
American Arbitration Association applicable to consumer disputes, to the extent those rules and
procedures do not contradict the express terms of this Agreement or this Arbitration Provision,
including the limitations on the arbitrator below. You may obtain a copy of the rules and procedures
by contacting the American Arbitration Association (1-800-778-7879; http://www.adr.org).




Regardless of who demands arbitration, we will advance your portion of the expenses associated
with the arbitration, including the filing, administrative, hearing and arbitrator’s fees (“Arbitration
Fees”). Throughout the arbitration, each party shall bear his or her own attorneys’ fees and
expenses, such as witness and expert witness fees. The arbitrator shall apply applicable substantive
law consistent with the Governing Law set forth above, and the Federal Arbitration Act, 9 U.S.C.
§§1-16 (“FAA”) and applicable statutes of limitation, and shall honor claims of privilege recognized at
law. The arbitration hearing will be conducted in the county of your residence, unless you agree to a
different location. In conducting the arbitration proceeding, the arbitrator shall not apply any federal or
state rules of civil procedure or evidence. If the arbitrator renders a decision or an award in your favor
resolving the dispute, the arbitrator shall award you reasonable attorneys’ fees. If the arbitrator
renders a decision or an award in your favor resolving the dispute then you will not be responsible for
reimbursing us for your portion of the Arbitration Fees and we will reimburse you for any Arbitration
Fees you have previously paid. Regardless of whether the arbitrator renders a decision or an award
in your favor resolving the dispute, you will not be responsible for reimbursing us for your portion of
the Arbitration Fees and we are not entitled to an award of attorneys’ fees. At the timely request of
any party, the arbitrator shall provide a written explanation for the award. The arbitrator’s award may
be filed with any court having competent jurisdiction.




You and we expressly acknowledge and agree that this Arbitration Provision is made pursuant to a


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                                                205be governed by the FAA.
transaction involving interstate commerce and shall




This Arbitration Provision is binding upon and benefits you, your respective heirs, successors and
assigns. This Arbitration Provision is binding upon and benefits us, our successors and assigns, and
related third parties. This Arbitration Provision survives the termination of the relationship between
you and us, and continues in full force and effect, even if your obligations have been cancelled by
prepayment, paid or discharged through bankruptcy. This Arbitration Provision survives any
termination, amendment, expiration or performance of any transaction between you and us and
continues in full force and effect unless you and we otherwise agree in writing. You hereby
acknowledge and expressly agree to the following by executing this Agreement, submitting it to us,
and accepting the loan proceeds without cancelling your Loan:




YOU AGREE TO THE TERMS OF THIS ARBITRATION PROVISION AND YOU HEREBY AGREE
AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO HAVE A COURT RESOLVE
ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES.




WAIVER OF JURY TRIAL: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION,
YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO
HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST US OR AGAINST A
RELATED THIRD PARTY.




CLASS-ACTION/REPRESENTATIVE WAIVER: BY AGREEING TO THE TERMS OF THIS
ARBITRATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE
WAIVING YOUR RIGHT TO PURSUE OR PARTICIPATE IN REPRESENTATIVE CLAIMS AND
YOU THEREFORE WILL NOT BE ALLOWED TO SERVE AS A REPRESENTATIVE, AS A
PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR
TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED
AGAINST US AND/OR RELATED THIRD PARTIES. THEREFORE, THE ARBITRATOR SHALL
NOT CONDUCT CLASS ARBITRATION; THAT IS, THE ARBITRATOR SHALL NOT ALLOW YOU
TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY
OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION.




By electronically signing this Agreement, you hereby acknowledge that you have read the Agreement
in its entirety, that you have carefully reviewed all of the terms and provisions contained in this
Agreement, that you fully understand and comprehend the meaning of each and every word, phrase


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and provision contained in this Agreement and that you hereby agree to abide by and be bound by all
of the terms and provisions in this Agreement, including the terms and provisions of this Agreement
dealing with the limited waiver of sovereign immunity and the ARBITRATION PROVISION.




                        CONSENT TO ELECTRONIC COMMUNICATIONS




The following terms and conditions govern electronic communications in connection with this
Agreement and the transaction evidenced hereby (this “Consent”). By electronically signing this
Agreement by clicking the “I AGREE” button and entering your name below, you are confirming that
you have agreed to the terms and conditions of this Consent and that you have the ability to
download or print a copy of this Consent for your records. You further agree that:




Any disclosure, notice, record or other type of information that is provided to you in connection with
your transaction with us, including but not limited to, this Agreement, this Consent, disclosures,
change-in-term notices, fee and transaction information, statements, delayed disbursement letters,
notices of adverse action, and transaction information (collectively, “Communications”), may be sent
to you electronically by sending it to you by e-mail as permitted by applicable law.




We will not be obligated to provide any Communication to you in paper form unless you specifically
request us to do so.




You may obtain a copy of any Communication by contacting us at Amplify Funding.com, writing to us
at customerservice@amplifyfunding.com or by calling us at (844)379-0900. You will not be charged a
fee for such copy. You also can withdraw your consent to ongoing electronic communications in the
same manner, and ask that they be sent to you in paper or non-electronic form. If you choose to
receive Communications in paper or non-electronic form, we may elect to terminate this Agreement
and demand payment of the amount then due by the date of your withdrawal of consent; or by the
expiration of any minimum term mandated by law, whichever is later.




You agree to provide us with your current e-mail address for notices at the address or phone number
indicated above. If your e-mail address changes, you must send us a notice of the new address by
writing to us or sending us an e-mail, using secure messaging, at least 5 days before the change.


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In order to receive electronic communications in connection with this transaction, you will need a
working connection to the Internet. Your browser must support the Secure Sockets Layer (SSL)
protocol. SSL provides a secure channel to send and receive data over the Internet. Microsoft
Internet Explorer 6 or equivalent browser and above supports this feature. You will also need either a
printer connected to your computer to print disclosures/notices or sufficient hard drive space available
to save the information (e.g., 1 megabyte or more). You must have your own Internet service
provider. We may amend (add to, delete or change) the terms of this Consent to electronic
communication by providing you with advance notice.




             CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES




• CONSENT TO TELEPHONE CALLS AND TEXT MESSAGES. By electronically signing this
Agreement by clicking the “I AGREE” button and entering your name below, you consent to
receiving calls and Text Messages pertaining to your loan, including but not limited to, payment
information, account information, due dates, delinquencies, program updates relating to your loan,
and collection efforts, at any phone number you have provided to us, our assignee(s), or anyone
trying to collect the loan. You consent to calls and text messages using an automatic telephone
dialing system or an artificial or prerecorded voice.




• How To Unsubscribe: You may withdraw your consent to receive Text Messages by texting
“STOP” to the message you receive, calling us at (844)379-0900 or emailing
us at customerservice@amplifyfunding.com You may withdraw your consent to receive telephone
calls using an automatic telephone dialing system or an artificial or prerecorded voice by calling us at
(844)379-0900 or emailing us at customerservice@amplifyfunding.com. At our option, we may treat
your provision of an invalid mobile phone number, or the subsequent malfunction of a previously valid
mobile phone number, as a withdrawal of your consent to receive calls or Text Messages. We will not
impose any fee upon you to process the withdrawal of your consent to receive calls or Text
Messages. Any withdrawal of your consent to receive calls or use Text Messages will be effective
only after we have a reasonable period of time to process your withdrawal.




• In order to access, view, and retain Text Messages that we make available to you, you must have:
(1) a Text Messagecapable mobile phone, (2) an active mobile phone account with a communication
service provider? and (3) sufficient storage capacity on your mobile phone.




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• To request additional information, text “HELP” to208
                                                    the message you receive or contact us by
telephone at (844)379-0900.




• The services are available from most of the carriers that offer Text Messaging. Consult your mobile
service carrier to confirm that they offer Text Messaging.




• There is no service fee for Text Messages but you are responsible for all charges imposed by your
communications service provider, such as fees associated with Text Messaging. Consult your mobile
service carrier’s pricing plan to determine the charges for sending and receiving Text Messages.
These charges will appear on your phone bill. Message frequency depends on account settings.




• You agree that we may send any Text Messages related to your loan through your communication
service provider in order to deliver them to you and that your communication service provider is
acting as your agent in this capacity. You agree to indemnify, defend, and hold us harmless from and
against all claims, losses, liability, costs, and expenses (including reasonable attorneys’ fees) arising
from your provision of a mobile phone number that is not your own or your violation of applicable
federal, state, or local law, or regulation or ordinance relating to Text Messages. Your obligation
under this paragraph shall survive termination of this Agreement. You agree that Text Messages are
provided for your convenience only.




• Receipt of each Text Message may be delayed or impacted by factors pertaining to your
communications service provider. We will not be liable for losses or damages arising from any
disclosure of account information to third parties, nondelivery, delayed delivery, misdirected delivery
or mishandling of, or inaccurate content in, the Text Messages sent by us.




• We may modify or terminate our Text Messaging services from time to time, for any reason, with or
without notice, and without liability to you, any other user or third party.




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     CONSENT TO RECEIVE ADVERTISING OR TELEMARKETING TEXT MESSAGES AND
                             TELEPHONE CALLS

• By signing this section, you consent to our sending you Advertising and Telemarketing
Text Messages to the mobile phone number you have provided below. You also consent to
our making advertising or telemarketing calls to you at your mobile phone number using
automatic telephone dialing system or an artificial or prerecorded voice calls or texts.

•        Signing this section will be deemed to be your signature acknowledging your
consent to receive Advertising and Telemarketing Text Messages and telephone calls as
described above to your mobile phone at 9122396251.

• You are not required to consent to Advertising or Telemarketing Text Messages or calls to
obtain credit or other services from us. At any time, you may withdraw your consent to
receive Advertising or Telemarketing Text Messages or marketing calls to the mobile
number provided by calling us at (844)379-0900 or emailing us
at customerservice@amplifyfunding.com.

• You understand that: any Advertising and Telemarketing Text Messages we send you may
be accessed by anyone with access to your Text Messages? and your mobile phone service
provider may charge you fees for Advertising and Telemarketing Text Messages that we
send you, and you agree that we shall have no liability for the cost of any Advertising and
Telemarketing Text Messages.




                     COVERED BORROWER IDENTIFICATION STATEMENT




We provide important protections to active duty members of the Armed Forces and their dependents.
To ensure that these protections are provided to eligible applicants, we require you to select and
electronically sign ONE of the following statements as applicable:




I AM a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast Guard,
serving on active duty under a call or order that does not specify a period of thirty (30) days or fewer,
or such member serving on Active National Guard duty.




I AM a dependent of a member of the Armed Forces on active duty as described above, because I
am the member’s spouse, the member’s child under the age of eighteen years old or I am an



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                                              210onehalf of my financial support for one hundred
individual for whom the member provided more than
eighty (180) days immediately preceding today’s date.




--OR--




X
I AM NOT a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast
Guard, serving on active duty under a call or order that does not specify a period of thirty (30)
days or fewer (or a dependent of such a member).




             SIGNATURE AND ACCEPTANCE OF ALL TERMS AND CONDITIONS




BY ENTERING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE
ELECTRONICALLY SIGNING THIS LOAN AGREEMENT AND AGREEING TO ALL THE TERMS
OF THIS LOAN AGREEMENT INCLUDING:




• THE DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION
• THE CONSENT TO ELECTRONIC COMMUNICATIONS
• THE CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES
• THE COVERED BORROWER IDENTIFICATION STATEMENT
• YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY
COMPLETED COPY OF THIS LOAN AGREEMENT FOR YOUR RECORDS.




[I AGREE]
DATE: 05/11/2019
 73.182.64.14
NAME: Kevin Williams




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                                                            PRIVACY POLICY



                                                                   Rev. September 2017

FACTS                                  WHAT DOES Niswi, LLC DBA Amplify
                                       Funding DO WITH YOUR PERSONAL
                                       INFORMATION?



Why?                                   Financial companies choose how they share
                                       Your personal information. Consumers have the
                                       right to limit some but not all sharing. This notice
                                       tells You how We collect, share, and protect Your
                                       personal information. Please read this notice
                                       carefully to understand what We do.
What?                                  The types of personal information We collect and
                                       share depend on the product or service You have
                                       with Us. This information can include:

                                       • Social Security number and checking account
                                       information
                                       • Payment history and income
                                       • Employment information and wire transfer
                                       instructions
How?                                   All financial companies need to share customers’
                                       personal information to run their everyday
                                       business. In the section below, We list the
                                       reasons financial companies can share their
                                       customers’ personal information; the reason
                                       Niswi, LLC DBA Amplify Funding chooses to
                                       share; and whether You can limit this sharing.




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Reasons We can share Your
                                        212
                           Does Niswi, LLC, DBA Amplify Can You limit this sharing?
personal information                Funding share?
For Our everyday business           YES                               NO
purposes – such as to process
Your transactions, maintain
Your account(s), respond to
court orders and legal
investigations, or report to credit
bureaus
For Our marketing purposes – to YES                                   NO
offer Our products and services
to You
For joint marketing with other      NO                                WE DO NOT SHARE
financial companies
For Our affiliates’ everyday        YES                               NO
business purposes – information
about Your transactions and
experiences
For Our affiliates’ everyday        YES                               YES
business purposes – information
about Your creditworthiness
For Our affiliates to market to     YES                               YES
You
For nonaffiliates to market to      YES                               YES
You




To limit Our sharing                                 Call (844)379-0900- our menu will prompt you
                                                     through your choices or
                                                     • Contact us via email
                                                     at customerservice@amplifyfunding.com

                                                     Please note: If You are a new customer, We can
                                                     begin sharing Your information 30 days from the
                                                     date We sent this notice. When You are no
                                                     longer Our customer, We can share Your
                                                     information as described in this notice. However,
                                                     You can contact Us at any time to limit Our
                                                     sharing.
Questions?                                           Call (844)379-0900 or go to Amplify Funding.com




Who We are
Who is providing this notice?                        Niswi, LLC DBA Amplify Funding business entity
                                                     of the Lac du Flambeau of Lake Superior
                                                     Chippewa Indians, is providing this privacy policy.


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What We do
How does Niswi, LLC DBA Amplify Funding            To protect Your personal information from
protect my personal information?                   unauthorized access and use, We use security
                                                   measures. These measures include computer
                                                   safeguards and secured files and buildings.
How does Niswi, LLC DBA Amplify Funding            We collect Your personal information, for
collect my personal information?                   example, when You

                                                   • Apply for a loan
                                                   • Give Us Your income information
                                                   • Tell Us where to send the money
                                                   • Provide account information
                                                   • Provide employment information

                                                 We also collect Your personal information from
                                                 others, such as credit bureaus, affiliates or other
                                                 companies.
Why can’t I limit all sharing?                   You have the right to limit only
                                                 • sharing for affiliates’ everyday business
                                                 purposes – information about Your
                                                 creditworthiness
                                                 • affiliates from using Your information to market
                                                 to You
                                                 • sharing for nonaffiliates to market to You
What happens when I limit sharing for an account Your choices will apply to everyone on Your
I hold jointly with someone else?                account.




Definitions
Affiliates                                         Companies related by common ownership or
                                                   control. They can be financial and nonfinancial
                                                   companies.

                                                   • Our affiliates include other business entities of
                                                   the Lac du Flambeau Band of Lake Superior
                                                   Chippewa Indians of Wisconsin.
Nonaffiliates                                      Companies not related by common ownership or
                                                   control. They can be financial and nonfinancial
                                                   companies. Non-affiliates we share with can
                                                   include service providers and data processors.
Joint marketing                                    A formal agreement between nonaffiliated
                                                   financial companies that together market financial
                                                   products or services to You.
                                                   • Niswi, LLC does not jointly market.



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PLEASE TAKE A MOMENT TO REVIEW THIS LOAN AGREEMENT CAREFULLY. YOU WILL BE
REQUIRED TO ELECTRONICALLY SIGN AND DATE IT. YOU WILL ALSO ELECTRONICALLY
SIGN AND DATE THE DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATIONS.




                                        Loan #       9532

Agreement Date: 07/02/2019                       Loan #:    9532
Effective Date: 07/03/2019                       Loan Type: Installment Loan
Makwa, LLC d/b/a                                 Name: Kevin Williams
Makwa Finance                                    Address: 10014 White Bluff Rd Apt 301
P.O. Box 343                                     City: Savannah
Lac du Flambeau                                  State: GA Zip:31406
WI 54538                                         Phone: 9122396251
                                                 Email Address: kewillia@bellsouth.net




In this Agreement (“Agreement”) the words “we,” “us” and “our” mean Makwa, LLC d/b/a
Makwa Finance, an economic development arm of, instrumentality of, and a limited liability
company wholly-owned and controlled by, the Lac du Flambeau Band of Lake Superior
Chippewa Indians (“Tribe”), and any authorized representative, agent, independent
contractor, affiliate or assignee we use in the provision of your loan. “You” and “your” means
the consumer who signs the Agreement electronically. The term “business day” means any
calendar day other than a Saturday, Sunday or a bank or federal holiday, between the hours of
8AM and 4PM CST.



This Agreement is governed by the laws of the Tribe.




In order to complete your transaction with us, you must electronically sign and date this
Agreement. We cannot commit to make a loan to you unless your completed application is
approved by our underwriting department, located on the Tribe’s Reservation. Once you sign
and submit this Agreement, we will either approve or deny your request for credit from our
office located on tribal land. If your information cannot be verified by the Effective Date, your
request for credit will not be approved, we will not fund the loan, and you will not incur any
finance charge or fees.



                              TRUTH IN LENDING DISCLOSURES




                                                 1
                                                                                   EXHIBIT 1-E
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ANNUAL               FINANCE CHARGE 216Amount Financed      Total of Payments
PERCENTAGE RATE
                        The dollar amount the The amount of credit The amount you will
The cost of your credit credit will cost you. provided to you or on have paid after you
as a yearly rate.                             your behalf.          have made all
                                                                    payments as
                                                                    scheduled.
388.19%                 $1500.24              $1200.00              $2700.24



Your Payment Schedule will be:




Number of Payment               Payment Amount                  Payment Date
1                               $225.02                         07/19/2019
2                               $225.02                         08/02/2019
3                               $225.02                         08/16/2019
4                               $225.02                         08/30/2019
5                               $225.02                         09/13/2019
6                               $225.02                         09/27/2019
7                               $225.02                         10/11/2019
8                               $225.02                         10/25/2019
9                               $225.02                         11/08/2019
10                              $225.02                         11/22/2019
11                              $225.02                         12/06/2019
12                              $225.02                         12/20/2019




Security: If you decide to authorize automatic payments from your bank account, you are
giving a security interest in your Payment Choice Authorization. If you do not authorize
automatic payments from your bank account, you are not giving us a security interest.




Late Charge: If a payment is 3 days or more late, you will be charged $30 per late scheduled
payment.




Prepayment: If you pay off early, you will not have to pay a penalty.




See the terms of the Agreement below for any additional information about nonpayment,
default, any repayment in full before the schedule date, and prepayment refunds and
penalties.



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ITEMIZATION OF AMOUNT FINANCED: Amount Financed/Amount given to You directly
$1200.00




                                    SPECIAL NOTICES:




•YOUR LOAN IS AN EXPENSIVE FORM OF BORROWING.
•YOU CAN SAVE FINANCE CHARGES BY PAYING OFF YOUR LOAN EARLY EITHER IN PART
OR IN FULL.
•YOUR LOAN IS DESIGNED TO ASSIST YOU IN MEETING YOUR SHORT-TERM CASH NEEDS.
IT IS NOT A SOLUTION FOR LONGER TERM FINANCIAL PROBLEMS.
•NON-PROFIT CREDIT COUNSELING SERVICES MAY BE AVAILABLE IN YOUR COMMUNITY
FOR CONSUMERS EXPERIENCING FINANCIAL PROBLEMS.




                           PAYMENT DISBURSEMENT OPTIONS




DISBURSEMENT: If your loan is approved, we will process disbursement of your loan
proceeds within one (1) business day of the day your loan is approved. You authorize us to
use commercially reasonable efforts to initiate a credit entry by depositing the proceeds of
your loan into your Bank Account as described in your Disbursement Authorization. The date
that your loan proceeds are deposited to your Bank Account is the “Disbursement Date.”
Unavoidable delays that occur as a result of bank holidays, the processing schedule of your
individual bank, inadvertent processing errors, “acts of God,” and/or “acts of terror” may
extend the time for the deposit and may cause a change in the Disbursement Date and your
Annual Percentage Rate (“APR”) as disclosed herein. In the event that disbursement is
delayed, the Disbursement Date will automatically adjust to the actual date of disbursement.




AUTHORIZATION FOR ACH CREDIT: You agree that we may initiate a credit entry to your
Bank Account for an amount consistent with this Agreement on or before the Effective Date. If
you revoke this authorization before we credit the loan proceeds to you, then we will not be
able to deposit the loan proceeds into your Bank Account. To find out whether or not a
deposit has been made, you may contact customer service at (855) 853-4392.




EXPEDITED FUNDING SERVICE: If you want to receive your loan proceeds at least one (1)
business day sooner than through an ACH credit, we offer you an Expedited Funding Service.
If you choose this Expedited Funding Service, your loan proceeds are deposited into your
Bank Account on the same business day as your loan is approved (if before 12:00 p.m.


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Central) time or the next business day if after 218
                                                that time.




For example, if your loan was approved at 12:30 p.m. on Friday, your loan proceeds would
likely be deposited into your Bank Account on Monday. But, if you wanted to use the
Expedited Funding Service, then your loan proceeds would be disbursed to you on Friday.




Note that the timing of when your bank actually makes these funds available to you is entirely
controlled by your bank and not us. If you want to use Expedited Funding Service, type in
your name in the Expedited Funding Service authorization in the Disbursement Authorization
box below.



                               PAYMENT METHOD OPTIONS




PAYMENTS: You are required to make the payments for each period outlined in the payment
schedule above (“Installment Period”) on or before the payment due dates in the payment
schedule (“Payment Due Dates”). If you would like to repay your loan according to a payment
plan other than as set forth herein, you must contact a customer service representative no
later than three (3) days prior to your next scheduled Payment Due Date to make those
payment schedule modifications if you would like them in effect for the next Payment Due
Date. You will make your payments on or before every Payment Due Date until you have paid
the entire principal and accrued finance charge(s) and any other charges as described in this
Agreement. If on the final scheduled Payment Due Date (“Maturity Date”), you still owe
amounts under this Agreement, you will pay those amounts in full on that date. You may elect
to make your payments electronically: by ACH debit, by debit card, or by Remotely Created
Check. You may also elect to make your payments by cashier’s check or money order and
mail your payments to us.




ELECTRONIC PAYMENT: If you elect to make your payments electronically, then your
payment plus any Non-Sufficient Funds (“NSF”), Late or Refused Instrument Charge fees due
to us, if applicable, will be debited electronically from your Bank Account on each Payment
Due Date as set forth in your payment schedule (see “PAYMENT CHOICE AUTHORIZATION”
below) through one of the electronic methods described below. You may revoke your
payments by contacting customer service at (855) 853-4392 or emailing us at
customerservice@makwafinance.com. Please note: if your scheduled payment has already
been submitted to your financial institution at the time of revocation, it may be necessary for
us to wait until that payment posts before we can refund you that payment amount. However,
when possible, at the time of revocation, we will void any pending payment(s). For the
purposes of these disclosures, our business days are Monday through Friday. 8:00 AM to 4:00
PM CST. Saturdays, Sundays, and Holidays are not included.



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PAYMENTS BY ACH DEBIT: If you elect to pay by ACH debit, then you authorize us, our
successors and assigns to initiate automatic debits for payments from your Bank Account.
You agree that we will initiate debit entries on each scheduled payment date or thereafter for
the scheduled amount, or any lesser amount you owe. You authorize us to initiate separate
ACH debit entries to your Bank Account identified in the Payment Choice Authorization for
any returned payment and NSF, Late or Refused Instrument Charge fees in the amounts set
forth in this Agreement. You agree that we may reinitiate any ACH up to two (2) additional
times for the same amount if an ACH is dishonored. You do not have to authorize payments
by ACH debit in order to receive a loan from us. If you do not want to make payments by ACH
debit, please review the other available payment options below.




You may revoke this authorization by contacting customer service at (855) 853-4392 or
emailing us at customerservice@makwafinance.com not less than three (3) business days
prior to your scheduled payment. Please note: if your scheduled payment has already been
submitted to your financial institution at the time of revocation, it may be necessary for us to
wait until that payment posts before we can refund you that payment amount. However, when
possible, at the time of revocation, we will void any pending payment(s).




You have the right to receive notice of all transfers that vary in amount. You acknowledge that
we elected to offer you a specified range of amounts for the recurring ACH processing rather
than providing you with a notice of transfer for each varying amount. The ACH debit may
range from the amount provided in this Agreement, which may be a scheduled payment
amount or less if partial prepayments have been made, to the scheduled payment amount
plus applicable NSF, Late or Refused Instrument Charge fees. We will send you a notice if a
charge exceeds this range.



You authorize us to verify any information that you provide to us, including past and current
information from whatever source. You agree that the ACH entries authorized here are
voluntary, and that certain entries will recur as defined in this Agreement at substantially
regular intervals. If there is any missing or erroneous information in or with your loan
application regarding your Bank Account, then you authorize us to verify and correct the
information. If any payment cannot be obtained by ACH, you remain responsible for such
payment and any resulting fees under this Agreement.



Your Bank Account associated with this authorization is listed in the Payment Choice
Authorization.




PAYMENT BY DEBIT CARD: If you elect to pay by debit card, you agree that we may initiate


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                                             220 payment date or thereafter for the
debit entries to your debit card on each scheduled
scheduled amount, or any lesser amount you owe, in three (3) instances: 1) if we cannot
process your authorized ACH debits for any reason other than your revocation of ACH
authorization, 2) if you specifically authorize that we debit your debit card identified in this
Agreement, or 3) if you default on a payment.




You authorize us to initiate a separate debit to your debit card for any applicable NSF, Late or
Refused Instrument Charge fees set forth in this Agreement. If the debit entries are
dishonored, you authorize us to initiate separate debit entries to your debit card for the
dishonored amount and any late fees or NSF fees.



You may revoke this authorization by contacting customer service at (855) 853-4392 or
emailing us at customerservice@makwafinance.com not less than three (3) business days
prior to your scheduled payment. Please note: if your scheduled payment has already been
submitted to your financial institution at the time of revocation, it may be necessary for us to
wait until that payment posts before we can refund you that payment amount. However, when
possible, at the time of revocation, we will void any pending payment(s).




You have the right to receive notice of all transfers that vary in amount. You acknowledge that
we elected to offer you a specified range of amounts for the recurring debit card processing
rather than providing you with a notice of transfer for each varying amount. The debit may
range from the amount provided in this Agreement, which may be a scheduled payment
amount or less if partial prepayments have been made, to the scheduled payment amount
plus applicable NSF, Late or Refused Instrument Charge fees. We will send you a notice if a
charge exceeds this range.




PAYMENT BY REMOTELY CREATED CHECK: If you elect to pay by remotely created check,
you agree that we may create checks bearing your typed name and other information as may
be required under applicable law, rather than your handwritten signature, drawn on your Bank
Account, and to submit each check for payment to the bank or other financial institution in the
amount of each payment owing to us under this Agreement on or after each scheduled
payment date (“Remotely Created Check”), otherwise known as a demand draft, telecheck,
preauthorized draft or paper draft in four (4) instances: 1) if you have specifically elected to
make your payments by Remotely Created Check, 2) if you elected to make payments by debit
card or ACH and you subsequently revoke either authorization, 3) if we are unable to process
your payments by debit card or ACH for any other reason, or 4) if you have defaulted on a
payment.




If a Remotely Created Check is returned unpaid by the Bank or other financial institution, then
you authorize us to create and submit a Remotely Created Check for any NSF, Late or


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                                           221 accrued pursuant to this Agreement. You
Refused Instrument Charge fees or other amounts
agree that your typed name will constitute your authorized signature fully reflecting your
intent to authenticate any such Remotely Created Check. You authorize us to vary the amount
of any preauthorized payment by Remotely Created Check as needed to repay amounts
owing, as modified by any partial prepayment.




If you would like to dispute a payment related to a Remotely Created Check, determine
whether a payment was genuine, withhold payment of a Remotely Created Check, or obtain
recrediting of amounts we obtain via Remotely Created Check, contact us at (855) 853-4392 or
email us at customerservice@makwafinance.com.




PAYMENT BY CASHIER’S CHECK OR MONEY ORDER: If you elect to pay by cashier’s check
or money order, then you agree to repay all amounts due pursuant to this Agreement by
mailing your cashier’s checks or money orders to us at P.O. Box 343, Lac Du Flambeau, WI
54538. All mailed payments must reach us by 4:00 pm Central Time on or before (1) business
days prior to the Payment Due Date to ensure timely processing of your payment.




                                   OTHER INFORMATION




PREPAYMENT: You may prepay all or part of the amount you owe us at any time before the
Maturity Date without penalty. If you prepay in full, you must pay the finance charge(s)
accrued on your loan and all other amounts due up to the date of the prepayment. If you wish
to prepay your loan, then you must contact a customer service representative at (855)
853-4392 to obtain an accurate payoff amount and either provide us with authorization to
effect a debit entry to your Bank Account for the prepayment, or otherwise advise us of your
intended method of prepayment. If you prepay all or part of the principal amount due on your
loan, your finance charges on the amount prepaid will be calculated as of the date of your
prepayment.




LATE CHARGE: You agree to pay a late charge of $30 if a payment is 3 days or more late. If
you authorized debits from your Bank Account or debit card in your Payment Choice
Authorization, you agree that we may debit your Bank Account or debit card, as applicable,
for any late charges.




REFUSED INSTRUMENT CHARGE: If your payment method is stopped, denied or otherwise
dishonored, then you agree to pay us a fee of $30. If you authorized debits from either your
Bank Account or debit card in your Payment Choice Authorization, you agree that we may
debit your Bank Account or debit card, as applicable, for any Refused Instrument Charge.


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Your refused instrument may also cause your222
                                            payment to be late which could result in your
having to also pay a late charge.




YOUR PROMISE TO PAY: You promise to pay us, or any subsequent holder of this
Agreement, the Amount Financed and finance charges according to the payment schedule in
the Truth in Lending Disclosures plus all other amounts owed to us under this Agreement.
You agree that your finance charges will be calculated at the Annual Percentage Rate in the
Truth in Lending Disclosures. All payments will be applied first to finance charges and fees
and then to principal. If you prepay all or part of the principal amount due on your loan, your
finance charges on the amount prepaid will be calculated as of the date of your prepayment.




WHEN YOU BEGIN PAYING FINANCE CHARGE(S): You begin to accrue finance charge(s) for
the loan on the Disbursement Date. The first Installment Period on the loan begins on the
Disbursement Date and ends on the first Payment Due Date. Thereafter, each Installment
Period begins on the first date following the Payment Due Date and ends on the next Payment
Due Date. You will be charged finance charge(s) on the entire Installment Period beginning on
the first day of the Installment Period. In calculating your payments, we have assumed you
will make each payment on the day and in the amount due as outlined within your payment
schedule. If any payment is made before the Payment Due Date, the finance charge(s) will be
calculated as of the date of your prepayment, and any over payment will be applied to the
amounts owed under this Agreement. Time is of the essence, which means that there are no
grace periods for when payments must be made.




ASSIGNMENT: This Agreement may not be assigned by you. We may assign or transfer this
Agreement and our related rights and obligations without notice to you and your consent is
not required if we make such an assignment or transfer.




VERIFICATION: You authorize us to verify the information you provided to us in connection
with your loan application. You give us consent to obtain information about you from
consumer reporting agencies or other sources at any time. We reserve the right to withhold
funding of this loan, at any time prior to disbursement, to allow us to verify the information
you have provided to us.




CREDIT REPORTING: We may report information about your loan to credit bureaus. Late
payments, missed payments, or other defaults on your loan may be reflected on your credit
report.




CANCELLATION: You may cancel your payment obligations under this Agreement, without


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cost or finance charges, no later than 3:00 p.m. CST of the second business day immediately
following the Disbursement Date (“Cancellation Deadline”). Your right to cancel your loan
only applies if your loan either hasn’t funded or, if it has, the funds are returned to us as
explained below. To cancel your payment obligations on this loan, you must inform us in
writing, by or before the Cancellation Deadline, either by email
to customerservice@makwafinance.com, that you want to cancel the future payment
obligations on this loan. If we timely receive your written notice of cancellation on or before
the Cancellation Deadline but before the loan proceeds have been deposited into your Bank
Account, then we will not debit your Bank Account and both your and our obligations under
this Agreement will be rescinded. However, if we timely receive your written notice of
cancellation on or before the Cancellation Deadline but after the loan proceeds have been
deposited into your Bank Account, then you authorize us to effect a debit to your Bank
Account or your debit card as you chose in your Payment Choice Authorization for the
principal amount of this Agreement. If we receive payment of the principal amount via the
debit, then both your and our obligations under this Agreement will be rescinded. If we do not
receive payment of the principal amount by debit to your Bank Account or your debit card,
then this Agreement will remain in full force and effect.




DEFAULT: You will be in default under this Agreement if you do not pay us a scheduled
payment or any other amounts you owe us when due or your chosen payment method is
stopped, denied or otherwise dishonored. If you default on your loan, we can choose to
declare all principal, finance charges and other amounts that you owe us to be immediately
due and payable in full. If you are in default and you authorized debits from your Bank
Account, you agree that we can debit your Bank Account or debit card, as applicable, for the
full amount that you owe us. Additionally, if you do not cooperate with us on repaying your
debt to us we may submit your name to a collection agency and we may also report the
incident to a consumer reporting agency database. This may negatively impact your ability to
write checks or to receive loans or advances from other companies.




CONSEQUENCES OF DEFAULT: Upon a default by you under this Agreement, we may, at our
sole option, take any one or more of the following actions:

a) Agree to permit you to cure a payment default before the loan goes into collection by
modifying your Payment Schedule and/or payment amounts (a “Cure Arrangement”). This
option is not available for all customers and/or all loan products. If we agree to a Cure
Arrangement and you fail to honor its terms, then we will have the right, at our sole discretion,
to terminate the Cure Arrangement and immediately and without notice declare the entire
unpaid principal balance and all accrued unpaid finance charge(s) and fees immediately due
under your loan (“Accelerate Your Loan”);
b) Automatically and without further action or notice Accelerate Your Loan and require you to
immediately pay us all amounts due and owing pursuant to such acceleration;
c) If you have elected to repay your loan electronically, we may automatically and without
further action or notice withdraw from your designated account(s) an amount equal to the
amount owed and unpaid as of your last scheduled payment date up to an amount equal to
the amount owed if we have Accelerated Your Loan; and
d) Pursue all legally available means to collect what you owe us.


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By electing any one of these options, we do not waive or release our right to subsequently
elect and apply any other options to collect the amounts due and owing to us.




GOVERNING LAW: The laws of the Tribe and applicable federal law will govern this
Agreement, without regard to the laws of any state or other jurisdiction, including the conflict
of laws rules of any state. You agree to be bound by Tribal law, and in the event of a bona fide
dispute between you and us, Tribal law and applicable federal law shall exclusively apply to
such dispute.




SOVEREIGN IMMUNITY AND PRESERVATION OF SOVEREIGN IMMUNITY: This Agreement
and all related documents are being submitted by you to us as an economic development
arm, instrumentality, and limited liability company of the Tribe. The Tribe is a federally
recognized Indian Tribe and enjoys sovereign immunity. Nothing in this Agreement
constitutes a waiver of the Tribe’s sovereign immunity and the Tribe’s immunity is fully
preserved and is not waived either in whole or in part by this Agreement and the Tribe
expressly maintains all rights, titles, privileges, and immunities, to which the Tribe is entitled.
To protect and preserve the rights of the parties, no person may assume a waiver of
sovereign immunity. No waiver of the Tribe’s immunity is or can be made except by express
written declaration of the Tribe’s Tribal Council specifically authorizing a waiver for the
matter in question. No such waiver has been made with respect to either your Agreement or
your Disbursement and Payment Choice Authorization. As set forth below, the Tribe expressly
preserves its sovereign immunity and you may not assert any claims against the Tribe. As an
economic development arm and instrumentality of the Tribe, we are entitled to sovereign
immunity to the same extent as the Tribe. To encourage resolution of consumer complaints, a
complaint may be submitted by you or on your behalf pursuant to the Dispute Resolution
Procedure and Arbitration Provision below and the complaint is limited by the Dispute
Resolution Procedure and Arbitration Provision.




QUESTIONS OR CONCERNS: If you have questions or concerns and need assistance, please
telephone us at (855) 853-4392.




                 DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION



DISBURSEMENT AND PAYMENT CHOICE          Loan#: 9532
AUTHORIZATION for Makwa, LLC d/b/a Makwa
Finance
REVIEW VERY CAREFULLY BEFORE EXECUTING THE LOAN AGREEMENT




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Your ACH Credit Disbursement Authorization225



By electronically signing this Disbursement and Payment Choice Authorization below, you
voluntarily authorize us to initiate disbursement credits and payment debits you have
authorized. In the event that you select the option to make your payments with a cashier’s
check or money order, you will NOT be authorizing us to initiate any disbursement credits
and/or payment debits from any of your accounts. This Disbursement and Payment Choice
Authorization is a part of and relates to the Agreement. The words “you” and “your” mean the
borrower who has electronically signed this Disbursement and Payment Choice
Authorization. The words “we,” “us” and “our” mean Makwa, LLC d/b/a Makwa Finance and
our successors and assigns.




Disbursements to your Bank Account. Unless otherwise agreed, disbursement credits of your
loan proceeds will be made to the following bank account (your “Bank Account”).




Bank Name:                                    Bank Of America, N.a.
Transit ABA Number:                                0052
Deposit Account Number:                               2179




We will make these disbursement credits by Automated Clearing House (ACH) entries, unless
you have requested Expedited Funding Service via wire transfer.




BY TYPING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE
ELECTRONICALLY SIGNING THIS DISBURSEMENT AUTHORIZATION AND AGREEING TO
ALL THE TERMS OF THIS AUTHORIZATION.




YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY
COMPLETED COPY OF THIS DISBURSEMENT AUTHORIZATION FOR YOUR RECORDS.




[I AGREE]
NAME: Kevin Williams
 Kevin Williams
I agree that Makwa, LLC d/b/a/ Makwa Finance and its successors and assigns may initiate an
ACH credit disbursement to my Bank Account.




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                        PAYMENT CHOICE AUTHORIZATION



Your Payment Choice Authorization




Automatic Payment from Your Bank Account. Payments You will Make Directly.

By electronically signing this Payment Choice You agree to make each of your scheduled
Authorization below, you voluntarily authorize payments in your payment schedule by
us to initiate debits you have authorized.     cashier’s check or money order that we
Please note that any such authorization DOES receive no later than 4:00 PM Central Time on
NOT apply when selecting the option to make
                                               or before (4) business days prior to the
payments via cashier’s check or money order.
This Payment Choice Authorization is a part of Payment Due Date to:
and relates to this Agreement.

You authorize us and our successors and      Makwa Finance
assigns to process payment debit entries out P. O. Box 343
of your Bank Account by the payment process Lac Du Flambeau, WI 54538
you have authorized above, such as [ACH
entries,] [Remotely Created Checks] or
[transactions through your debit card
accessing your Bank Account listed above].

You specifically authorize us to use this
PAYMENT CHOICE to process debit entries
from your Bank Account for all payments due
under this Agreement in a sum equal to your
payment amount due under the Agreement;
provided, however, that you preauthorize us to
vary the amount of any debit entry on each
Payment Due Date as needed to adjust a
payment due on the loan to reflect: (1) any
payment you make; (2) any amounts you still
owe under this Agreement on the final
scheduled Payment Due Date; and, (3) for any
late, returned item charges, nonsufficient fund
fees and other fees imposed under the
Agreement.

If you are in default, you authorize us to
process one or more debit entries to pay all
principal, finance charges and other amounts
due to us as provided in the Agreement. You
authorize us to reprocess debit entries for the
same amounts if any attempted payment
transaction is dishonored. Please note that
any such authorization DOES NOT apply when
selecting the option to make payments via


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cashier’s check and/or money order.   227

We will provide you with ten (10) days’ notice
prior to processing a preauthorized debit entry
that varies from the scheduled amounts
detailed above, unless the variance results
from your request and your new authorization
for us to change the amount of your payments
going forward.



IF YOU HAVE CHOSEN TO AUTHORIZE PAYMENT FROM YOUR BANK ACCOUNT, YOU MAY
REVOKE YOUR AUTHORIZATION TO AUTOMATIC PAYMENTS AT ANY TIME BY
CONTACTING US DIRECTLY AT (855) 853-4392 OR customerservice@makwafinance.com.
Your revocation must be received no less than three (3) business days prior to your
scheduled payment date. Please note: if your scheduled payment has already been submitted
to your financial institution at the time of revocation, it may be necessary for us to wait until
that payment posts before we can refund you that payment amount. However, when possible,
at the time of revocation, we will void any pending payment(s). YOU UNDERSTAND THAT
REVOKING YOUR AUTHORIZATION DOES NOT RELIEVE YOU OF THE RESPONSIBILITY OF
PAYING ALL AMOUNTS DUE IN FULL THAT ARE OWED BY YOU UNDER THE LOAN
AGREEMENT.




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BY TYPING YOUR NAME AND CLICKING THE228
                                      “I AGREE” BUTTON BELOW, YOU ARE
ELECTRONICALLY SIGNING THIS PAYMENT CHOICE AUTHORIZATION AND AGREEING TO
ALL THE TERMS OF THIS AUTHORIZATION.

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY
COMPLETED COPY OF THIS DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION
FOR YOUR RECORDS.

[I AGREE] Kevin Williams I agree that Makwa, LLC d/b/a Makwa Finance and its successors
and assigns may initiate electronic fund transfer payments from my Bank Account, via the
PAYMENT CHOICE. PLEASE NOTE, YOU ARE NOT REQUIRED TO AUTHORIZE THIS
PAYMENT CHOICE AUTHORIZATION OPTION IN ORDER TO BE APPROVED FOR A LOAN
FROM US. YOU MAY CHOOSE TO PAY BY CASHIER’S CHECK OR MONEY ORDER BY
FOLLOWING THE INSTRUCTIONS IN THE “PAY BY CASHIER’S CHECK OR MONEY ORDER”
SECTION OF THIS AGREEMENT AND ON THE APPLICATION SCREEN.

ERROR RESOLUTION NOTICE: In the event (i) you have a question about an electronic
transfer or if (ii) you find an error, you must telephone us at (855) 853-4392, email us at
customerservice@makwafinance.com, or contact us by mail at P. O. Box 343, Lac Du
Flambeau , WI 54538. We must hear from you no later than sixty (60) days after the FIRST
debit or credit that is the basis of the problem or error. (1) Tell us your name and account
number (if any); (2) Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more information; and (3)
Tell us the dollar amount of the suspected error. If you tell us orally, we may require that you
send us your complaint or question in writing within ten (10) business days. We will
determine whether an error occurred within ten (10) business days after we hear from you
and will correct any error promptly. If we need more time, however, we may take up to forty-
five (45) days to investigate your complaint or question. If we decide to do this, we will credit
your account within ten (10) business days for the amount you think is in error, so that you
will have the use of the money during the time it takes us to complete our investigation. If we
ask you to put your complaint or question in writing and we do not receive it within ten (10)
business days, we may not credit your account. For errors involving new accounts, we may
take up to ninety (90) days to investigate your complaint or question. For new accounts, we
may take up to twenty (20) business days to credit your account for the amount you think is
in error. We will tell you the results within three (3) business days after completing our
investigation. If we decide that there was no error, we will send you a written explanation.
You may ask for copies of the documents that we used in our investigation.

CONFIDENTIALITY: We will disclose information to third parties about your account or the
transfers you make: (1) where it is necessary for completing transfers; (2) in order to verify
the existence and condition of your account to a third party, such as a credit bureau or
merchant; (3) in order to comply with a government agency or court orders; or (4) as
described in our privacy notice, provided separately.




           DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION




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                               As an accommodation  to consumers, we have
DISPUTE RESOLUTION PROCEDURE:
established the following Dispute Resolution Procedure to receive, review, and consider any
and all types of complaints made by or on behalf of our consumers. A consumer who, in the
course of his or her otherwise lawful and proper use of our business, has concerns about the
operation of any part of us or who otherwise believes himself or herself to be aggrieved by
some aspect of any part of our operation shall direct his or her concerns in the first instance
to our management, in writing at customerservice@ldfcallcenter.com or by mail at P.O. Box
231, Lac du Flambeau, WI 54538. A consumer’s complaint to us shall be considered similar in
nature to a petition for redress submitted to a sovereign government, without waiver of
sovereign immunity and exclusive jurisdiction, and does not create any binding procedural or
substantive rights. We will investigate the consumer’s complaint and provide our initial
determination as soon as is reasonably practicable. If the dispute is not resolved to your
satisfaction, you and we agree that we shall arbitrate that dispute in accordance with the
terms of the Arbitration Provision, described below.




ARBITRATION PROVISION: PLEASE READ THE FOLLOWING CAREFULLY AS IT IMPACTS
YOUR LEGAL RIGHTS.




WE, AS A WHOLLY OWNED ECONOMIC DEVELOPMENT ARM, INSTRUMENTALITY, AND
LIMITED LIABILITY COMPANY OF THE TRIBE, AND OUR DIRECTORS, OFFICERS, AND
EMPLOYEES ACTING WITHIN THE SCOPE OF THEIR AUTHORITY, ARE NOT SUBJECT TO
SUIT IN ANY COURT IN ANY JURISDICTION, OR ANY OTHER FORUM, ABSENT A WAIVER OF
SOVEREIGN IMMUNITY. In order to resolve a dispute that we cannot resolve to your
satisfaction as set forth above, we consent to a limited waiver of sovereign immunity as
expressly set forth below, which is expressly limited by the Arbitration Provision in this
Agreement. This limited waiver is strictly limited to individual arbitration claims set forth
below and judicial actions to enforce such individual arbitration awards as strictly limited
herein.




Definitions: The words “dispute” and “disputes” are given the broadest possible meaning
and include, without limitation (a) all claims, disputes, or controversies arising from or
relating directly or indirectly to this Dispute Resolution Procedure and Arbitration Provision
(“this Provision”), the validity and scope of this Provision and any claim or attempt to set
aside this Provision? (b) all U.S. federal or state law claims, disputes or controversies, arising
from or relating directly or indirectly to this Agreement, the information you gave us before
entering into this Loan Agreement, including the customer information application, and/or any
past Agreement or Agreements between you and us? (c) all counterclaims, cross claims and
third-party claims? (d) all common law claims, based upon contract, tort, fraud, or other
intentional torts? (e) all claims based upon a violation of any state or federal constitution,
statute or regulation? (f) all claims asserted by us against you, including claims for money
damages to collect any sum we claim you owe us? (g) all claims asserted by you individually
against the Tribe, us and/or any of our employees, agents, directors, officers, governors,
managers, members, parent company or affiliated entities (collectively, “related third
parties”), including claims for money damages and/or equitable or injunctive relief? (h) all


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                                            230 (i) all claims asserted by you as a private
claims asserted on your behalf by another person?
attorney general, as a representative and member of a class of persons, or in any other
representative capacity, against us and/or related third parties (“Representative Claims”)?
and/or (j) all claims arising from or relating directly or indirectly to the disclosure by us or
related third parties of any nonpublic personal information about you.




Notice: Any party to a dispute, including you, us and/or related third parties, may send the
other party(s) written notice by certified mail return receipt requested of their intent to
arbitrate and setting forth the subject of the dispute along with the relief requested, even if a
lawsuit has been filed. Regardless of who demands arbitration, the arbitration shall occur
before the American Arbitration Association (1-800-778-7879; http://www.adr.org). However,
the parties may mutually agree to select a different arbitrator who is an attorney, retired judge,
or arbitrator registered and in good standing with an arbitration association and arbitrate
pursuant to such arbitrator’s rules. The party receiving notice of arbitration shall respond in
writing by certified mail return receipt requested within twenty (20) calendar days. All parties
to such dispute will be governed by the rules and procedures of the American Arbitration
Association applicable to consumer disputes, to the extent those rules and procedures do not
contradict the express terms of this Agreement or this Arbitration Provision, including the
limitations on the arbitrator below. You may obtain a copy of the rules and procedures by
contacting the American Arbitration Association (1-800-778-7879; http://www.adr.org).




Regardless of who demands arbitration, we will advance your portion of the expenses
associated with the arbitration, including the filing, administrative, hearing and arbitrator’s
fees (“Arbitration Fees”). Throughout the arbitration, each party shall bear his or her own
attorneys’ fees and expenses, such as witness and expert witness fees. The arbitrator shall
apply applicable substantive law consistent with the Governing Law set forth above, and the
Federal Arbitration Act, 9 U.S.C. §§1-16 (“FAA”) and applicable statutes of limitation, and shall
honor claims of privilege recognized at law. The arbitration hearing will be conducted in the
county of your residence, unless you agree to a different location. In conducting the
arbitration proceeding, the arbitrator shall not apply any federal or state rules of civil
procedure or evidence. If the arbitrator renders a decision or an award in your favor resolving
the dispute, the arbitrator shall award you reasonable attorneys’ fees. If the arbitrator renders
a decision or an award in your favor resolving the dispute, then you will not be responsible for
reimbursing us for your portion of the Arbitration Fees and we will reimburse you for any
Arbitration Fees you have previously paid. Regardless of whether the arbitrator renders a
decision or an award in your favor resolving the dispute, you will not be responsible for
reimbursing us for your portion of the Arbitration Fees and we are not entitled to an award of
attorneys’ fees. At the timely request of any party, the arbitrator shall provide a written
explanation for the award. The arbitrator’s award may be filed with any court having
competent jurisdiction.



You and we expressly acknowledge and agree that this Arbitration Provision is made
pursuant to a transaction involving interstate commerce and shall be governed by the FAA.



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This Arbitration Provision is binding upon and benefits you, your respective heirs,
successors and assigns. This Arbitration Provision is binding upon and benefits us, our
successors and assigns, and related third parties. This Arbitration Provision survives the
termination of the relationship between you and us, and continues in full force and effect,
even if your obligations have been cancelled by prepayment, paid or discharged through
bankruptcy. This Arbitration Provision survives any termination, amendment, expiration or
performance of any transaction between you and us and continues in full force and effect
unless you and we otherwise agree in writing. You hereby acknowledge and expressly agree
to the following by executing this Agreement, submitting it to us, and accepting the loan
proceeds without cancelling your Loan:



YOU AGREE TO THE TERMS OF THIS ARBITRATION PROVISION AND YOU HEREBY AGREE
AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO HAVE A COURT RESOLVE
ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES.




WAIVER OF JURY TRIAL: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION,
YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO
HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST US OR AGAINST A
RELATED THIRD PARTY.




CLASS-ACTION/REPRESENTATIVE WAIVER: BY AGREEING TO THE TERMS OF THIS
ARBITRATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE
WAIVING YOUR RIGHT TO PURSUE OR PARTICIPATE IN REPRESENTATIVE CLAIMS AND
YOU THEREFORE WILL NOT BE ALLOWED TO SERVE AS A REPRESENTATIVE, AS A
PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR
TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED
AGAINST US AND/OR RELATED THIRD PARTIES. THEREFORE, THE ARBITRATOR SHALL
NOT CONDUCT CLASS ARBITRATION; THAT IS, THE ARBITRATOR SHALL NOT ALLOW YOU
TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY
OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION.



By electronically signing this Agreement, you hereby acknowledge that you have read the
Agreement in its entirety, that you have carefully reviewed all of the terms and provisions
contained in this Agreement, that you fully understand and comprehend the meaning of each
and every word, phrase and provision contained in this Agreement and that you hereby agree
to abide by and be bound by all of the terms and provisions in this Agreement, including the
terms and provisions of this Agreement dealing with the limited waiver of sovereign immunity
and the ARBITRATION PROVISION.




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                                     232 COMMUNICATIONS
                    CONSENT TO ELECTRONIC



The following terms and conditions govern electronic communications in connection with this
Agreement and the transaction evidenced hereby (this “Consent”). By electronically signing
this Agreement by clicking the “I AGREE” button and entering your name below, you are
confirming that you have agreed to the terms and conditions of this Consent and that you
have the ability to download or print a copy of this Consent for your records. You further
agree that:




Any disclosure, notice, record or other type of information that is provided to you in
connection with your transaction with us or that is sent by any third-party collection agency
with which we contract for the purpose of collection efforts related to this Loan Agreement
(“Collection Agency”), including but not limited to, this Agreement, this Consent, disclosures,
change-in-term notices, fee and transaction information, statements, delayed disbursement
letters, notices of adverse action, and transaction information (collectively,
“Communications”), may be sent to you electronically by sending it to you by e-mail as
permitted by applicable law.




We will not be obligated to provide any Communication to you in paper form unless you
specifically request us to do so.




You may obtain a copy of any Communication by contacting us at Makwafinance.com, writing
to us at customerservice@makwafinance.com or by calling us at (855) 853-4392. You will not
be charged a fee for such copy. You also can withdraw your consent to ongoing electronic
communications in the same manner, and ask that they be sent to you in paper or non-
electronic form. If you choose to receive Communications in paper or non-electronic form, we
may elect to terminate this Agreement and demand payment of the amount then due by the
date of your withdrawal of consent; or by the expiration of any minimum term mandated by
law, whichever is later.




You agree to provide us with your current e-mail address for notices at the address or phone
number indicated above. If your e-mail address changes, you must send us a notice of the
new address by writing to us or sending us an e-mail, using secure messaging, at least 5 days
before the change.



In order to receive electronic communications in connection with this transaction, you will
need a working connection to the Internet. Your browser must support the Secure Sockets
Layer (SSL) protocol. SSL provides a secure channel to send and receive data over the


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                                               233 browser and above supports this feature.
Internet. Microsoft Internet Explorer 6 or equivalent
You will also need either a printer connected to your computer to print disclosures/notices or
sufficient hard drive space available to save the information (e.g., 1 megabyte or more). You
must have your own Internet service provider. We may amend (add to, delete or change) the
terms of this Consent to electronic communication by providing you with advance notice.




            CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES




• CONSENT TO TELEPHONE CALLS AND TEXT MESSAGES. By electronically signing this
Agreement by clicking the “I AGREE” button and entering your name below, you consent to
receiving calls and Text Messages, from us, our assignee(s), and/or any third-party collection
agency with which we contract for the purpose of collection efforts, pertaining to your loan,
including but not limited to, payment information, account information, due dates,
delinquencies, program updates relating to your loan, and collection efforts, at any phone
number you have provided to us, our assignee(s), or anyone trying to collect the loan. You
consent to calls and text messages using an automatic telephone dialing system or an
artificial or prerecorded voice.




• How To Unsubscribe: You may withdraw your consent to receive Text Messages by texting
“STOP” to the message you receive, calling us at (855) 853-4392 or emailing us
at customerservice@makwafinance.com You may withdraw your consent to receive telephone
calls using an automatic telephone dialing system or an artificial or prerecorded voice by
calling us at (855) 853-4392 or emailing us at customerservice@makwafinance.com. At our
option, we may treat your provision of an invalid mobile phone number, or the subsequent
malfunction of a previously valid mobile phone number, as a withdrawal of your consent to
receive calls or Text Messages. We will not impose any fee upon you to process the
withdrawal of your consent to receive calls or Text Messages. Any withdrawal of your consent
to receive calls or use Text Messages will be effective only after we have a reasonable period
of time to process your withdrawal.




• In order to access, view, and retain Text Messages that we make available to you, you must
have: (1) a Text Message capable mobile phone, (2) an active mobile phone account with a
communication service provider? and (3) sufficient storage capacity on your mobile phone.



• To request additional information, text “HELP” to the message you receive or contact us by
telephone at (855) 853-4392.



• The services are available from most of the carriers that offer Text Messaging. Consult your


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mobile service carrier to confirm that they offer Text Messaging.



• There is no service fee for Text Messages but you are responsible for all charges imposed
by your communications service provider, such as fees associated with Text Messaging.
Consult your mobile service carrier’s pricing plan to determine the charges for sending and
receiving Text Messages. These charges will appear on your phone bill. Message frequency
depends on account settings.



• You agree that we, our assignee(s), and/or any third-party collection agency with which we
contract for the purpose of collection efforts may send any Text Messages related to your
loan through your communication service provider in order to deliver them to you and that
your communication service provider is acting as your agent in this capacity. You agree to
indemnify, defend, and hold us harmless from and against all claims, losses, liability, costs,
and expenses (including reasonable attorneys’ fees) arising from your provision of a mobile
phone number that is not your own or your violation of applicable federal, state, or local law,
or regulation or ordinance relating to Text Messages. Your obligation under this paragraph
shall survive termination of this Agreement. You agree that Text Messages are provided for
your convenience only.




• Receipt of each Text Message may be delayed or impacted by factors pertaining to your
communications service provider. We will not be liable for losses or damages arising from
any disclosure of account information to third parties, non-delivery, delayed delivery,
misdirected delivery or mishandling of, or inaccurate content in, the Text Messages sent by
us.



• We may modify or terminate our Text Messaging services from time to time, for any reason,
with or without notice, and without liability to you, any other user or third party.




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   CONSENT TO RECEIVE ADVERTISING OR 235
                                       TELEMARKETING TEXT MESSAGES AND
                                      TELEPHONE CALLS

• By signing this section, you consent to our sending you Advertising and Telemarketing Text
Messages to the mobile phone number you have provided below. You also consent to our
making advertising or telemarketing calls to you at your mobile phone number using
automatic telephone dialing system or an artificial or prerecorded voice calls or texts.

• Kevin Williams Signing this section will be deemed to be your signature acknowledging
your consent to receive Advertising and Telemarketing Text Messages and telephone calls as
described above to your mobile phone at 9125088082.

• You are not required to consent to Advertising or Telemarketing Text Messages or calls to
obtain credit or other services from us. At any time, you may withdraw your consent to
receive Advertising or Telemarketing Text Messages or marketing calls to the mobile number
provided by calling us at (855) 853-4392 or emailing us at
customerservice@makwafinance.com.

• You understand that: any Advertising and Telemarketing Text Messages we send you may
be accessed by anyone with access to your Text Messages? and your mobile phone service
provider may charge you fees for Advertising and Telemarketing Text Messages that we send
you, and you agree that we shall have no liability for the cost of any Advertising and
Telemarketing Text Messages.




                    COVERED BORROWER IDENTIFICATION STATEMENT




We provide important protections to active duty members of the Armed Forces and their
dependents. To ensure that these protections are provided to eligible applicants, we require
you to select and electronically sign ONE of the following statements as applicable:




I AM a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast Guard,
serving on active duty under a call or order that does not specify a period of thirty (30) days or
fewer, or such member serving on Active National Guard duty.




I AM a dependent of a member of the Armed Forces on active duty as described above,
because I am the member’s spouse, the member’s child under the age of eighteen years old
or I am an individual for whom the member provided more than one half of my financial
support for one hundred eighty (180) days immediately preceding today’s date.




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--OR--                                236




X
I AM NOT a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast
Guard, serving on active duty under a call or order that does not specify a period of thirty (30)
days or fewer (or a dependent of such a member).




             SIGNATURE AND ACCEPTANCE OF ALL TERMS AND CONDITIONS



BY ENTERING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE
ELECTRONICALLY SIGNING THIS LOAN AGREEMENT AND AGREEING TO ALL THE TERMS
OF THIS LOAN AGREEMENT INCLUDING:




• THE DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION
• THE CONSENT TO ELECTRONIC COMMUNICATIONS
• THE CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES
• THE COVERED BORROWER IDENTIFICATION STATEMENT
• YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY
COMPLETED COPY OF THIS LOAN AGREEMENT FOR YOUR RECORDS.




[I AGREE]
DATE: 07/02/2019
99.203.20.190
NAME: Kevin Williams




                                                                            PRIVACY POLICY



                                                                                Rev. September 2017


FACTS                                           WHAT DOES MAKWA, LLC DBA MAKWA
                                                FINANCE DO WITH YOUR PERSONAL
                                                INFORMATION?




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Why?                                 237
                                       Financial companies choose how they share
                                        Your personal information. Consumers have
                                        the right to limit some but not all sharing. This
                                        notice tells You how We collect, share, and
                                        protect Your personal information. Please read
                                        this notice carefully to understand what We
                                        do.
What?                                   The types of personal information We collect
                                        and share depend on the product or service
                                        You have with Us. This information can
                                        include:

                                        • Social Security number and checking
                                        account information
                                        • Payment history and income
                                        • Employment information and wire transfer
                                        instructions
How?                                    All financial companies need to share
                                        customers’ personal information to run their
                                        everyday business. In the section below, We
                                        list the reasons financial companies can share
                                        their customers’ personal information; the
                                        reason Makwa, LLC DBA Makwa Finance
                                        chooses to share; and whether You can limit
                                        this sharing.




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Reasons We can share Your             238 DBA Makwa Can You limit this sharing?
                          Does Makwa, LLC,
personal information            Finance share?
For Our everyday business       YES                             NO
purposes – such as to process
Your transactions, maintain
Your account(s), respond to
court orders and legal
investigations, or report to
credit bureaus
For Our marketing purposes – YES                                NO
to offer Our products and
services to You
For joint marketing with other NO                               WE DO NOT SHARE
financial companies
For Our affiliates’ everyday    YES                             NO
business purposes –
information about Your
transactions and experiences
For Our affiliates’ everyday    YES                             YES
business purposes –
information about Your
creditworthiness
For Our affiliates to market to YES                             YES
You
For nonaffiliates to market to YES                              YES
You




To limit Our sharing                             Call (855) 853-4392- our menu will prompt you
                                                 through your choices or
                                                 • Contact us via email at
                                                 customerservice@makwafinance.com

                                                 Please note: If You are a new customer, We
                                                 can begin sharing Your information 30 days
                                                 from the date We sent this notice. When You
                                                 are no longer Our customer, We can share
                                                 Your information as described in this notice.
                                                 However, You can contact Us at any time to
                                                 limit Our sharing.
Questions?                                       Call (855) 853-4392 or go to Makwafinance.com




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Who We are                           239
Who is providing this notice?                   Makwa, LLC DBA Makwa Finance, a business
                                                entity of the Lac du Flambeau of Lake
                                                Superior Chippewa Indians, is providing this
                                                privacy policy.




What We do
How does Makwa, LLC DBA Makwa Finance          To protect Your personal information from
protect my personal information?               unauthorized access and use, We use security
                                               measures. These measures include computer
                                               safeguards and secured files and buildings.
How does Makwa, LLC DBA Makwa Finance          We collect Your personal information, for
collect my personal information?               example, when You

                                               • Apply for a loan
                                               • Give Us Your income information
                                               • Tell Us where to send the money
                                               • Provide account information
                                               • Provide employment information

                                               We also collect Your personal information
                                               from others, such as credit bureaus, affiliates
                                               or other companies.
Why can’t I limit all sharing?                 You have the right to limit only
                                               • sharing for affiliates’ everyday business
                                               purposes – information about Your
                                               creditworthiness
                                               • affiliates from using Your information to
                                               market to You
                                               • sharing for nonaffiliates to market to You
What happens when I limit sharing for an       Your choices will apply to everyone on Your
account that I hold jointly with someone else? account.




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Definitions                          240
Affiliates                              Companies related by common ownership or
                                        control. They can be financial and nonfinancial
                                        companies.

                                        • Our affiliates include other business entities
                                        of the Lac du Flambeau Band of Lake Superior
                                        Chippewa Indians of Wisconsin.
Nonaffiliates                           Companies not related by common ownership
                                        or control. They can be financial and
                                        nonfinancial companies. Non-affiliates we
                                        share with can include service providers and
                                        data processors.
Joint marketing                         A formal agreement between nonaffiliated
                                        financial companies that together market
                                        financial products or services to You.
                                        • Makwa, LLC does not jointly market.




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